UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK


AVI & CO NY CORP.,

                                        Plaintiff,                      22 Civ. 10599 (PAE)
                        -v-
                                                                 NOTICE OF INITIAL PRETRIAL
CHANNELADVISOR CORPORATION.,                                            CONFERENCE

                                        Defendant.


PAUL A. ENGELMAYER, District Judge:

        An initial pretrial conference is scheduled for February 13, 2023, at 2:00 p.m. This

conference will be held telephonically. The parties should call into the Court’s dedicated

conference line at (888) 363-4749, and enter Access Code 468-4906, followed by the pound (#)

key. Counsel are directed to review the Court’s Emergency Individual Rules and Practices

in Light of COVID-19, found at https://nysd.uscourts.gov/hon-paul-engelmayer, for the Court’s

procedures for telephonic conferences and for instructions for communicating with chambers.

By the date of the initial pretrial conference, counsel for all parties are required to register as

filing users in accordance with the Procedures for Electronic Case Filing. The parties are

directed to review the Court’s Individual Rules, found at

http://www.nysd.uscourts.gov/judge/Engelmayer, for instructions on the methods for

communicating with Chambers.

        Counsel for the removing defendant are directed to file proof of service of its notice of

removal and a copy of plaintiff’s state court complaint promptly. Counsel for the removing

defendant are also directed to serve a copy of this Order on each other party within 14 days

following the date of this order; a copy of this Order must also be served with any subsequent




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process that brings in additional parties, and proof of such service must be filed promptly with

the Court. If the removing defendant’s counsel is unaware of the identity of counsel for any of

the other parties, he or she must forthwith send a copy of this Order to that party personally.

       If any plaintiff has a response to defendant’s notice of removal, that response must be

submitted to the Court within 7 days of service of defendant’s notice of removal. Any motion to

remand the action to state court based on procedural defects in the removal must be filed within

30 days of removal. See 28 U.S.C. § 1447(c). Defendant must answer or present other defenses

or objections under the deadlines detailed in Federal Rule of Civil Procedure 81(c)(2).

       Counsel are further directed to confer prior to the conference regarding settlement and

each of the other subjects to be considered at a Federal Rule of Civil Procedure 16 conference,

and prepare a Civil Case Management Plan and Scheduling Order in accordance with the Court’s

Individual Rules, to be submitted to the Court no later than February 9, 2023.

       No later than February 9, 2023, counsel are further directed to submit to the Court a

joint letter, not to exceed three single-spaced pages in length, addressing the following topics in

separate paragraphs: (1) a brief description of the case, including the factual and legal bases for

the claim(s) and defense(s); (2) any contemplated motions; and (3) the prospect for settlement.

For the Court’s convenience, the parties are requested to set forth the date and time of the

conference in the opening paragraph of the letter. One week prior to the date of the conference,

the parties must send the Court two courtesy copies of all pleadings.

       If this case has been settled or otherwise terminated, counsel are not required to appear,

provided that a stipulation of discontinuance, voluntary dismissal, or other proof of termination

is sent prior to the date of the conference via e-mail to the Orders and Judgment Clerk at the

following e-mail address: orders_and_judgments@nysd.uscourts.gov.



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       All conferences with the Court are scheduled for a specific time; there is no other matter

scheduled for that time; and counsel are directed to appear promptly. All pretrial conferences

must be attended by the attorney who will serve as principal trial counsel. Requests for

adjournment may be made only in a writing received no later than 2 business days before the

conference. The written submission must comply with Section 1.E of the Court’s Individual

Rules. Unless counsel are notified that the conference has been adjourned, it will be held as

scheduled.


       SO ORDERED.


                                                     PaJA.�
                                                     ____________________________________
                                                     Paul A. Engelmayer
                                                     United States District Judge


Dated: December 16, 2022
       New York, New York




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